  Case 1:23-cv-00108-LMB-JFA Document 1188-19 Filed 08/21/24 Page 1 of 1 PageID# 87269
AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action (page 2)

Civil Action No. 1:23-cv-00108

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)                 Josh Lowcock

on (date)       August 9, 2024 .

                                                                                                                     via email with consent on Mr.
          x I served the subpoena by delivering a copy to the named person as follows:
          u                                                                                                          Lowcock


                                                                                            on (date)                            ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                                     .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                    .

My fees are $                                  for travel and $                                 for services, for a total of $          0.00         .


          I declare under penalty of perjury that this information is true.


Date:          August 9, 2024                                                             /s/ Milosz Gudzowski
                                                                                                       Server’s signature

                                                                                          Milosz Gudzowski
                                                                                                     Printed name and title



                                                                         Milosz Gudzowski, 450 Fifth Street NW, Washington, DC 20530

                                                                                                        Server’s address

Additional information regarding attempted service, etc.:
